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     Attorney(s) for Rothschild Patent Imaging, LLC
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 7
                      IN THE UNITED STATES DISTRICT COURT
                   FOR THE NORTHERN DISTRICT OF CALIFORNIA
 8

 9
     ROTHSCHILD PATENT              §
     IMAGING, LLC,                  §              Case No: 3:21-cv-08006-TSH
10                                  §
11
          Plaintiff,                §              PATENT CASE
                                    §
12   vs.                            §              JURY TRAIL DEMANDED
13
                                    §
     SMUGMUG, INC.,                 §              NOTICE OF VOLUNTARY
14                                  §              DISMISSAL WITHOUT
15
          Defendant.                §              PREJUDICE
     _______________________________§
16

17         Plaintiff Rothschild Patent Imaging, LLC (“Plaintiff” and/or “RPI”) files this
18   Notice of Voluntary Dismissal Without Prejudice pursuant to Federal Rule of Civil
19   Procedure 41(a)(1)(A)(i). According to Rule 41(a)(1)(A)(i), an action may be dismissed
20   by the plaintiff without order of court by filing a notice of dismissal at any time before
21   service by the adverse party of an answer. Accordingly, Plaintiff hereby voluntarily
22   dismisses this action against Defendant Smugmug, Inc. without prejudice, pursuant to
23   Rule 41(a)(1)(A)(i) with each party to bear its own fees and costs.
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                        NOTICE OF VOLUNTARY DISMISSAL WITHOUT PREJUDICE
        Case 3:21-cv-08006-TSH Document 8 Filed 11/10/21 Page 2 of 2




 1   Dated: November 10, 2021               Respectfully submitted,
 2
                                            /s/Stephen M. Lobbin
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 9
                                CERTIFICATE OF SERVICE
10
           I hereby certify that on November 10, 2021, I electronically transmitted the
11
     foregoing document using the CM/ECF system for filing, which will transmit the
12
     document electronically to all registered participants as identified on the Notice of
13
     Electronic Filing, and paper copies have been served on those indicated as non-
14
     registered participants.
15                                          /s/ Stephen M. Lobbin
16                                          Stephen M. Lobbin

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                        NOTICE OF VOLUNTARY DISMISSAL WITHOUT PREJUDICE
